                                       
                                       
                               Court of Appeals
                       Sixth Appellate District of Texas
                                       
                                       
                                   JUDGMENT
                                       
                                       
                                       
Robert Lynn McCarver, Appellant
No. 06-13-00033-CR	v.
The State of Texas, Appellee

Appeal from the 6th District Court of Red River County, Texas (Tr. Ct. No. CR01260).  Opinion delivered by Justice Carter, Chief Justice Morriss and Justice Moseley participating.



As stated in the Court's opinion of this date, we find no error in the judgment of the court below.  We affirm the judgment of the trial court.
We note that the appellant, Robert Lynn McCarver, has adequately indicated his inability to pay costs of appeal.  Therefore, we waive payment of costs.

RENDERED AUGUST 8, 2013
BY ORDER OF THE COURT
JOSH R. MORRISS, III
CHIEF JUSTICE

ATTEST:
Debra K. Autrey, Clerk
